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                            UNITED STATES COURT OF INTERNATIONAL TRADE
                                         ONE FEDERAL PLAZA
                                      NEW YORK, NY 10278-0001



CHAMBERS OF
Claire R. Kelly
    Judge



                                                     May 4, 2021

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      Re:   SolarWorld Americas, Inc. et al. v. United States
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Dear Counsel:

      As you know, oral argument in this case will be held virtually on Wednesday,
May 19, 2021 at 10:15 a.m. in Courtroom 1 of the James L. Watson Courthouse of the
United States Court of International Trade, One Federal Plaza, New York, NY 10278.
The court has examined the parties’ submissions and would like counsel to be
prepared to address the following issues.

For Consolidated Plaintiffs and Plaintiff-Intervenor

1. Notwithstanding any criticisms or qualifications you assert as to its content, do
   you concede that the U.S. Department of Commerce’s (“Commerce”) practice for
   determining whether average unit value (“AUV”) data from a primary surrogate
   country are aberrational is to determine whether the overall AUV for imports of
   the subject input from all countries into the primary surrogate country deviates
   markedly from the overall AUV for imports of the subject input into other
   potential surrogate countries?

2. Commerce states that it “determines whether data are aberrational on a case-by-
   case basis after considering the totality of the circumstances.” Redetermination
   Pursuant to Ct. Remand Order at 23, Jan. 13, 2021, ECF No. 187-1 (“Third
   Remand Results”). Why is Commerce’s position unreasonable?

3. You (Plaintiff-Intervenors) cite Tri Union Frozen Prods. Inc. v. United States,
   Cmts. of [Pl.-Intervenors] Canadian Solar et al. & [Shanghai] BYD Opp’n Results
   of Redetermination Pursuant to Ct. Remand at 15–16, Feb. 24, 2021, ECF No. 192
   (“Pl.-Intervenors’ Br.”), but doesn’t this case underscore the fact that Commerce
   needs to analyze what is aberrational on a case-by-case basis? See Tri Union
   Frozen Prods. Inc. v. United States, 41 CIT __, __, 227 F. Supp. 3d 1387, 1397
   (2017) (“Tri Union”).

4. Given that the U.S. International Trade Commission’s (“ITC”) export data
   indicates that “136 times more nitrogen was exported from the United States into
   Thailand . . . than the [Global Trade Atlas (“GTA”)] data indicated was imported
   into Thailand from the United States[,]” you argue Commerce’s attempt to explain
   the discrepancy between ITC export data and Thai GTA data by appealing to
   differences in timing, reporting, and inspection requirements between the two
   datasets is unavailing. See Consol. Pl. Trina’s Cmt. on Final Results of Third
   Redetermination Pursuant to [Ct.] Remand at 15, Feb. 24, 2021, ECF No. 190
   (quoting SolarWorld Ams. Inc. v. United States, 962 F.3d 1351, 1358 (2020)
   (“SolarWorld”)); see also Pl.-Intervenors’ Br. at 15–16.
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      a. Even if “[t]he ITC data and the Thai GTA data cannot both be correct[,]”
         SolarWorld, 962 F.3d at 1358, without record evidence demonstrating
         which dataset is the correct source, why is it unreasonable for Commerce to
         defer to its methodological choice not to rely solely on such disparities as
         the basis for disregarding import data from a surrogate country? See Third
         Remand Results at 29 (“[I]f Commerce was obligated to reject GTA import
         data merely because of such differences, it would hamstring Commerce’s
         [nonmarket economy (“NME”)] practice and may severely limit its use of
         most import data to value FOPs; thus, frustrating the intent of the NME
         provisions of the statute.”).

      b. Isn’t it the case that Thai imports of nitrogen from the United States
         “amount to only approximately nine percent of its total POR nitrogen
         imports by quantity[?]” Third Remand Results at 29 (citing Letter Re:
         Submission of Publicly Available Factual Info. to Rebut, Clarify or Correct
         at Ex. 5B, PDs 497–499, bar codes 3411020-01–03 (Oct. 29, 2015)). If so,
         why is it unreasonable for Commerce to conclude that the fact that “a
         relatively small portion of the GTA import data differ from U.S. export
         data” is insufficient to reject the entirety of the Thai GTA data? Id.

5. Given Commerce’s position that low AUVs for Mexico, Bulgaria, and Romania can
   be explained by the fact that large quantities of nitrogen are imported into those
   countries from neighboring countries, see, e.g., Third Remand Results at 21–22,
   why is it necessarily the case that “[t]he only reasonable inference is that AUV
   derived from the Thai GTA data . . . is likely incorrect and unreliable[?]” See, e.g.,
   Pl.-Intervenors’ Br. at 16 (citations omitted).

6. Why is it unreasonable for Commerce to take into account the burden of
   “assess[ing] the suitability and/or potential aberration of each AUV based on the
   import quantities used to calculate the AUV” and entertaining “subjective
   arguments” and “cherry picking” from parties when formulating its methodology
   for determining whether overall AUV data from a surrogate country is
   aberrational? See Third Remand Results at 13.

For Defendant

   1. Is it essentially your position that the Court of Appeals for the Federal Circuit
      (“Court of Appeals”) misunderstood Commerce’s practice? See generally
      SolarWorld, 962 F.3d 1351.

   2. Notwithstanding Commerce’s clarification of its practice:
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      a. Didn’t the Court of Appeals also criticize Commerce’s “bookend”
         methodology as being illogical, and wasn’t that the more pertinent
         criticism? See SolarWorld, 962 F.3d at 1357–58 (“[T]he use of a bookend
         methodology here is illogical because it fails to account for the fact that
         countries on one end of the bookend (Bulgaria and Romania) account for
         the vast majority (99.22%) of the recorded nitrogen imports, that these
         countries have a substantially lower average unit value than that of
         Thailand, and that the other countries to which Commerce compares the
         Thai average unit value (the other end of the bookend) together represent
         only a fraction of a percent of the quantity (about 0.40%) recorded in the
         GTA.”).

      b. Did the Court of Appeals generally suggest that there was a problem with
         the bookend methodology in this case because of a distortive effect of low
         quantity imports? See SolarWorld, 962 F.3d at 1357–58.

   3. You cite Tri Union for the proposition that “Commerce clarified that its practice
      is to consider data to be aberrational when it is an extreme outlier, is distorted
      or misrepresentative, or is somehow incorrect.” See Def.’s Resp. to Cmts. on
      [Third Remand Results] at 4, Mar. 26, 2021, ECF No. 193 (“Def.’s Resp.”).
      Aside from this case being non-binding, aren’t you misstating the court’s
      opinion which underscores that while Commerce stated that its practice was
      to consider data aberrational when it is an extreme outlier, Commerce failed
      to provide a definition or explanation for aberrational? See Tri Union, 41 CIT
      at __, 227 F. Supp. 3d at 1394–95.

   4. Although differences between ITC export data and Thai GTA import data may
      be explained by differences in timing, reporting, and inspection requirements,
      how does that reasonably address Plaintiffs’ argument that the ITC data
      indicates 380 times more nitrogen was exported into Thailand than is reported
      by the Thai GTA data? Doesn’t the large variation suggest that the Thai GTA
      data can’t be trusted?

   5. Commerce posits that low AUVs for Mexico, Bulgaria, and Romania can be
      explained by the fact that large quantities of nitrogen are imported into those
      countries from neighboring countries. See Third Remand Results at 21–22. Is
      there any record evidence that supports commerce’s position?

   6. In its remand redetermination, what support does Commerce cite for its
      finding “that Bulgaria did not produce subject merchandise and Thailand
      does”? See Def.’s Resp. at 21 (citing Decision Memo. for the Final Results of
      the 2013–2014 Antidumping Duty Admin. Review of Crystalline Silicon
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      Photovoltaic Cells, Whether or Not Assembled Into Modules, From the People’s
      Republic of China at 7–8, A-570-979, (June 13, 2016), ECF No. 21-5). How do
      you respond to Plaintiff-Intervenors’ argument that Commerce does not cite
      record evidence to support its assertions with respect to the purity of nitrogen
      used in solar cells? See Pl.-Intervenors’ Br. at 14–15.


                                                    Sincerely,
                                                     /s/ Claire R. Kelly
                                                    Claire R. Kelly, Judge

Cc: Steve Taronji
    For docketing
